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                                     ATTAC HM ENT A

                                 STIPULATION O F FA CTS

       Theundersignedpartiesstipulateand Jgz'cethatfthiscasehadproceeded to trial,this
O' cewouldhaveproventhefollowingfactsbeyondareasonabledoubt.Theundersignedparties
alsostipulateandcgreethatthefollowingfactsdonotencompassalloftheevidencethatwould
àcve beenpresented had this matterproceeded to trial.

       TheDefendant,IVAN VICTOR THRANE CTHRANED,wastheownerandpresident
ofCompanyA,aconstructioncompmy withalladdressofP.O.Box219,Dickerson,Maryland;
CompanyB,aconstruction company m than addressofP.O.Box 219,Dickerson,M aryland;and
Com pany C,a construction company w1t1:an address of 5000 Sllnnyside Avenue,Suite 301,
Beltsville,Maryland (collectively KtheTHRANE ComymliesH). Victim Company 1wasa
com pany headquartered in Beltsvllle,M aryland,thatprovlded constm ction and design services,
primarily to federalgovernmentagencies. Rakesh KaushalCKaushar)wasemployed by
Victim Company1asaProjectManagerand,subsequently,asaProjectExecutivebetweeninand
arotmd August2015 and in and arotm d January 2017.

       Between in and arotm d August2015 and in and arotm dJanuary 2017,TH R AN E conspired
with K aushalto defraud Victim Com pany 1 by subm itting false and fraudulentpaym entrequests
forworkpup ortedly performedbytheTH RANE Companies.In fact,theTHRANE Companies
had notperform ed allofthe w ork indicated on the paym entrequestsand,in som e cases,had not
performed anywork on projectsforwhichtheTHRANE companieswererequesting pam ent.
U pon receiving paym entsto the TH R AN E Com paniesfrom Victim Com pany 1,TH R ANE then
funneledaportionofthosepaymentstoKaushal.Fortheptyposeofexecutingthisschemeto
degaud,T          E and K aushalcaused interstatew iretransm lssions.K aushaldeposited checks
âom theTHRANE Comyalziesintohispersonalbank accounts,causing thetransmission of
information byinterstatewlresforpurposesofprocessingthesecheck paym ents.

       In furtherance of the conspiracy and schem e to defraud,TH R AN E and K aushal,am ong
otherthings,caused the TH RAN E Com paniesto subm itpam entrequeststo Victim Com pany 1.
K aushalprepr ed these paym entrequestsand em ailed them to TH R AN E. TH R ANE,oranother
individual at T        E's request,signed the payment requests on behalf of the THRANE
Compe es.THRANEthenemailedthesiredpaymentrequeststoKaushaltorequestpam ent
9om Victim Company 1. Kaushal,as Victim Company 1's Project Managerand Prolect
Executive,approved the paym entrequests,representing thatthe w ork related to the requestshad
been pedbrmed,causing Victim Company 1 to pay the THRANE Companies. AherVictim
Com pany 1paid the TH R ANE Com panies,TH IG N E m ade pam entsto K aushal,typically by
m iting checksfrom T ITR AN E orthe TH R AN E Com paniesto K aushal.

       Forexample,on O ctober8,2015,K aushalsentan em ail,using hispersonalem ailaccotm t,
toTHRANE,withthesubjectlinettlnvoice2''thatreadRsignandreturn.''Theemailcontained
an attachm enttitled KApplication and Certificate forPaym ent,''addressed to V ictim Com pany 1
from Company B,thatlisted a X urrentPaymentDue''amotmtof$60,000. An Application and
Certificate for Pam entto Victim Com pany l from Com pany B w ith a Rcurrent Paym entDue''

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amotmtof$60,000wmssigned byTHRANE onoraboutOctober9,2015and submittedtoVictim
Company 1. On October22,2015,Victim Company 1issued check number2261in the amotmt
of$60,000payableto Company B. On October28,2015,TH RANE issuedcheck number1026
from CompanyA in theamountof$26,900payableto Kaushal.

       Sim ilarly,on D ecem ber 10,2015,K aushalsentan em ail,using hispersonalem ailaddress,
to THRANE,withthesubjectline'W pprovedlnvoice4''thatreadçtplemse executethis.'' The
emailcontained an attachmenttitled 'W pplication and Certificate for Paym ent''addressed to
Victim Company 1from Company B,thatlisted aRcurrentPam entDue''amountof$156,500.
On the sam e day,TH R ANE sentan em ailto K aushal's w ork em ailaddressthatread,tçRakesh,
AttachedisourPayApplicationNo.4forjotzrreview andprocessinp''Attachedtotllisemailwms
adocumenttitled tW pplication and Certlficate forPam ent''containing THRANE'S sir ature,
that listed a ttcurrent Paym entDue''mnount of $156,500. On December 17,2015,Victim
Company 1 issued check number2575 in the amountof$156,500 payable to Company B. On
December21,2015,THRANE issued check mlm ber 1030 from Company A in the amountof
$72,500 payableto Kaushal.
       AAerVictim Com pany 1discovered overbillingby theTH R ANE Com paniesin D ecem ber
2016,TH RANE and K aushalattem pted to concealthe conspiracy and schem eto defraud. For
exam ple,on D ecem ber 28,2016,TH R ANE received an em ail 9om K aushal, using llis w ork
email address, that read in part, tçGood M orning M r.Thrane: I have been inform ed by our
accountingdepartmentthatmistakenlywehaveoveyaidyourcompany fortheMPO Skm alk
Project. Can you please verify with your accountlng and respond by COB today.'' Other
em ployees from Victim Com pany l w ere copied on this em ail. In fact,TH RA NE and Kaushal
had com m unicated prior to this em ail regarding the discovery of ovem am ents by V ictim
Com pany 1.

       TH RAN E and K aushal com m unicated by em ail regarding the response to V ictim
Com pany 1.A tapproxim ately 8:14 mm .on Decem ber28,2016,K aushalsentan em ail,using his
personalem ailaddress,to TH R AN E,thatread in part,tdGood M om ing M r.K aushal:In response
to your em ailof this m om ing,please allow m e to review ottr records with m y accotm tant.M y
accotmtantisofftbisweek....Pleaserestassuredthatiftherehavebeenanyoverpapnenttous
by F ictim Company 1),we willretum the ovemaymentimmediately.'' Approxlmately ten
rninuteslater,TR RAN E sentanem ailto K aushal'swork em ailaddress,copying otherem ployees
from Victim Company1,thatreadinpart,troodMornin!* .Kaushal,Inresponsetoyouremail
ofthism orning,ple% eallow meto review ourrecordsm th my accotmtant.M y accotmtantisoff
thisweek....Plemserestasstlredthatiftherehasbeenanyovemaymenttousby(Victim Company
1),wewillreturntheoverpam entimmediately.''Infact,theTHRANE Companiesdidnothave
an accountant.

       A Rerthe discovery ofthe fraudulentschem e,Victim Com pany 1 initiated civillitigation
againstT         E and K aushal,and TH R ANE and K aushalcoordinated theirdefense. D udng
the course of this civillitigation,TH R AN E and K aushal falsely asserted that an em ployee of
Victim Company1ClndividualA''),onbehalfoftheownerofVictim Comyany1,authorizedthe
TH R AN E Com panies to overbill V ictim Com pany 1 and to pay a portlon of the overbilled
am otmtsto K aushal.TH R AN E and K aushalfalsely asserted thatthe purpose ofthisoverbilling

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wasto setmsidefundsforone ofthe THRANE Companiesto purchase Victim Company 1. ln
fact,IndividualA did notstartworking atVictim Company 1tmtilafterTH RANE and Kaushal
had begtm submitting false and fraudulentpaymentrequeststo Victim Company 1aspartofthe
fraudulentschem e,and IndividualA did notauthorize TH R ANE orthe TH RAN E Com panies to
subm itfalseorinflatedpaymentrequeststoVictim Company 1.

      From approxim ately Septem ber 2015 to Decem ber 2016,V ictim Com pany 1 paid the     '
THRANE Companiesapproximately$3,294,675.34 asaresultofpaymentrequestssubm itted as
partof the conspiracy and scheme to defraud. Upon receipt ofthese payments from Victim
Com pany 1, TH R AN E issued approxim ately 34 kickback pam ents, totaling approxim ately
$1,740,330,in checkswritten to Kaushal. On oraboutJanuary 3,2017,O er discovering the
fraudscheme,Victim Comjany 1reversedorvoidedpam entstotalinjapproximately$741,525
to the TH R AN E Com pam es. K aushalthen provided TH R ANE m th three checks,a1l dated
January4,2017,from K aushalto CompanyB totalingapproximately $370,700.06.Accordingly,
theactualorintendedlossam ountaM butabletoTH RANE ismoret11m1$1,500,000butnotmore
than $3,500,000.                                                                      .
       SO STP ULA TED :


                                           sica . ollins
                                        GrejoryD.Bemstein
                                        Asslstant nitedStatesAttom eys
                                                               h.



                                        Ivan V ict   rane
                                        Defendant
                                                           R


                                        Eric Kirchm an,Esq.
                                        CounselforDefendant




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